                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION



 UNITED STATES OF AMERICA                       )
                                                )
       v.                                       )       NO. 3:06-CR-147
                                                )       (Varlan / Guyton)
 SHERMOND ALSUP                                 )


                                              ORDER

        Having read and considered the government's motion to unseal and for good cause shown,

 it is hereby ORDERED that the Clerk is directed to unseal the plea agreement in the above-styled

 cause solely for the purpose of providing same in discovery and for the parties to use in the jury trial

 of United States v. Jesse Rondale Bailey, docket number 3:06-CR-145. Thereafter, the plea

 agreement shall be resealed and remain sealed until further order of this Court.

                                                        ENTER:


                                                             s/ H. Bruce Guyton
                                                        United States Magistrate Judge




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